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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

MARY LOIS HAWKINS                                                           PLAINTIFF


v.                                 CASE NO. 4:05-CV-1002 GTE


COUNSELING ASSOCIATES, INC.                                                DEFENDANT

                                        JUDGMENT

       Upon the basis of the Order granting Defendant’s Motion for Summary Judgment, and

Supplemental Motion for Summary Judgment, Plaintiff’s Complaint and Amended Complaint

must be dismissed with prejudice against Defendant.

        IT IS THEREFORE ORDERED that JUDGMENT be, and it is hereby, entered in favor

of Defendant, and against Plaintiff.

       IT IS FURTHER ORDERED that the Complaint and Amended Complaint be, and they

are hereby, dismissed with prejudice.

       IT IS SO ORDERED THIS 26th day of March, 2007.

                                                  /s/Garnett Thomas Eisele___________
                                                  UNITED STATES DISTRICT JUDGE




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